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      5   Attorney for Defendant
      6
          T. BAXTER DUNN

      7
                                   IN THE UNITED STATES DISTRICT COURT
      8
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
      9

     10

     11
          UNITED STATES OF AMERICA,           )                      Case No. 02-cr-00468 MCE
     12                                       )
     13
                            Plaintiff,        )                      STIPULATION AND ORDER
                                              )                      RE: RETURN OF UNITED
     14         v.                            )                      STATES PASSPORT
                                              )
     15
          T. BAXTER DUNN,                     )
     16                                       )
                            Defendant.        )
     17   ____________________________________)
     18

     19
                 On January 13, 2005, Defendant T. Baxter Dunn entered a guilty plea to one count of
     20
          Honest Services Mail Fraud, Title 18 USC 1341, 1346. On May 31, 2005, Defendant Dunn was
     21
          sentenced by court to the custody of the Bureau of Prisons for 6 months, 6 months home
     22
          confinement and a term of 3 years supervised release. The court further imposed a special
     23
          assessment of $100 and a fine of $40,000. On March 27, 2008, defendant Dunn admitted to a
     24
          violation of the terms of supervised release and on June 19, 2008 the court recommitted the
     25
          defendant for 30 days to the custody of the Bureau of Prisons. The court did not change the
     26
          original term of supervised release.
     27

     28




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      1          All sentences imposed by the court have been served and all terms and conditions
      2   of supervised released have been fully satisfied by the defendant. Defendant Dunn's term of
      3   supervised release expires on December 19, 2008.
      4          Defendant Dunn has remarried and he and his wife are anticipating the opportunity to
      5   travel outside the United States after the expiration of defendant's term of supervised release.
      6   Accordingly, Defendant Dunn respectfully requests the court to grant his request for the return of
      7   his United States Passport currently in the custody of the government.
      8          The government and United States Probation do not object to the court's granting of
      9   Defendant Dunn's request and the parties hereby stipulate to its return to Defendant Dunn.
     10

     11   IT IS SO STIPULATED:
                                                                        McGREGOR W. SCOTT
     12
                                                                        United States Attorney
     13
                                                                       /S/ Benjamin Wagner
     14                                                           By: __      _______
     15
          DATED: December 16, 2008                                     BENJAMIN B. WAGNER
                                                                       Assistant United States Attorney
     16

     17

     18
          DATED: December 16, 2008                                      /s/ Wayne Ordos

     19                                                                 WAYNE ORDOS
                                                                        Attorney for Defendant
     20
                                                                        T. Baxter Dunn
     21
                                                       ORDER
     22
          GOOD CAUSE APPEARING, the court grants Defendant Dunn's request for the return of his
     23

     24   United States Passport.

     25          IT IS SO ORDERED.
     26
          DATED: December 17, 2008
     27
                                                    __________________________________
     28                                             MORRISON C. ENGLAND, JR
                                                    UNITED STATES DISTRICT JUDGE



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